                                T
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                                                                                       November 18, 2019

    VIA ECF
    The Honorable Joan M. Azrack
    United States District Judge
    Eastern District of New York
    Long Island Courthouse
    100 Federal Plaza, Courtroom 920
    Central Islip, New York 11722

            Re:       Hice v. Lemon, No. 2:19-CV-04666(JMA)(GRB)
                      Supplemental Letter Support of Motion to Remand

    Dear Judge Azrack:
                                                                               matter, and respectfully
            We represent the Plaintiff, Dustin Hice, in the above-referenced
                                                                              to remand this matter to
     submit this supplemental letter in further support of Plaintiff's motion
                                                                                            directly to the issue at hand.
     state court, to apprise the Court of recent congressional action relating


     Congressional Hearing on Snap Removals
                                                                           Representatives Judiciary
            On Thursday, November 14, 2019, the United States House of
                                                                       Internet, held a hearing on the
     Committee, Subcommittee on Courts, Intellectual Property, and the
                                                                          nt rule. Throughout the
     rising use of "snap removal"1 to circumvent the forum defenda
                                                                      among congress — is that snap
     proceedings, it became clear that the prevailing view —including
                                                                       both the spirit and intent of the
     removal is an impermissible act of gamesmanship which violates
                                                                      determine the best method for
     removal statutes. The primary purpose of the hearing was to
                                                                           what Defendant Lemon has
     amending the statute to clarify that such removals which is precisely
      done here      are not permissible.

                                                                         federal court before being
      1 Snap removal is when a defendant removes a state court action to
      served wlt process.
                                                            Page 1 of4
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                                                                                    s Statement for
         Attached hereto as Exhibits A-E are copies of:(i) Chairman Jerrold Nadler'
                                                                             or of Law Emeritus,
  the Subcommittee Hearing; (ii) Statement of Arthur D. Hellman, Profess
                                                                                 , Owen L. Coon
  University of Pittsburgh School of Law; (iii) Statement of James E. Pfander
                                                                                nt ofEllen Relkin,
  Professor ofLaw,Northwestern University Pritzger School ofLaw;(iv) Stateme
                                                                            air; and (v)
   Esq., Weitz & Luxemberg Defectove Drugs and Devices Practice Group Co-Ch
   Statement of Kaspar Stoffelmayr, Esq., Partner, Barlit Beck, LLP.
                                                                                                ofthe
         While the attachments speak for themselves, it is worth noting that the clear purpose
                                                                                    tly clear that the
   committee hearing was to "fix" the problem of snap removals, making it abundan
                                                                                    (2d Cir. 2019) is
   Second Circuit's holding in Gibbons v. Bristol-Myers Squibb Co., 919 F.3d 699
                                                                       superseded by
   fundamentally flawed, wrongly decided, and will almost certainly be
   statute/amendment.
             As Chairman Nadler, himself, put it:
                    Under well-established law, known as diversity jurisdiction, when a
                    plaintiff sues a defendant who is a resident of another state in state
                    court, that defendant n ay ren~~~E ~h~ ~,ase ~c fedeiai ~c~r~. 'his
                    provision is intended to protect against possible bias that may occur
                    against an out-of-state defendant. When the defendant is sued in
                    his or her own state, however, removal is not permitted because
                    the concern for bias no longer exists. This is referred to as the
                    forum defendant rule.

                    Unfortunately, a combination of modern technology, a desire by
                    some corporations to avoid state courts seemingly at any cost, and a
                    supposed loophole in the removal statute has engendered a new
                    tactic.


                     Many companies, therefore, now use computer programs to monitor
                     court filings in real time and to remove any case against them in
                     their own state by an out-of-state plaintiff before the plaintiff has
                     time to effect service sometimes in a matter o~ mere mi~u~~~ il~i
                     an attempt to thwart the forum defendant rule.

                     Although this sort of gamesmanship is clearly contrary to the
                     spirit and the intent of the federal removal statute, some courts
                     have ruled that such snap removals are permitted by a plain reading
                     of the text. It is important, therefore, that Congress clarify the
                     statute to put an end to this dubious maneuver.


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                   I look forward to the witnesses' testimony, and particularly their
                   thoughts on how Congress can fix this important and growing
                   problem. I yield back the balance of my time.

            Examining the Use of `Snap'Removals to Circumvent the Forum Defendant Rule: Hearing
   Before   the Subcomm. on Courts, Intellectual Property, and the Internet, H. Comm. On the
                                                                                        the
   Judiciary, 116th Cong. (Nov. 14, 2019) (statement of Rep. Nadler, Chair, H. Comm. On
   Judiciary)(emphasis added).
          Ofthe four additional Statements made to the Committee, only one witness supported snap
   removals: Mr. Stoffelmayr, who wrote on behalf of a "national coalition of ...corporations and
   defense trial lawyer organizations." Mr. Stoffelmayr's primary argument was that snap removals
   only affect a small number of Plaintiffs, and thus, even though permitting snap removals can
   admittedly lead to anomalous results, it is essentially not a problem so significant that it needs
   fixing. Mr. Stoffelmayr further opined that Plaintiffs' loss oftheir chosen forum by virtue of snap
   removal is not substantively prejudicidl '~e~aus~ f~d~ra.l co~~rts are adeq~atel~ able t:~ ~.ddres~ stag
    law claims. The Statement contains little else in the way of policy argument.
             Indeed, as one of the other witnesses noted:
                    No one defends the practice of snap removal as the product of a
                    considered policy judgment by Congress, and for good reason. It's
                    difficult to see why Congress would leave the forum defendant rule
                    generally intact as a bar to removal, and create a special exception
                    for only those forum defendants who have the resources and
                    incentives as repeat players to hire docket monitoring services and
                    act quickly in the wake of new litigation. Rather, as with so many
                    other aspects of modern life, technological change has created new
                    disruptive possibilities. Snap removal seems novel in the sense that
                    it exploits old language by deploying modern technology.


                    [W]e might ask whether a sensible system of jurisdictional
                    allocation would foreclose removal by forum defendants and then
                    create an exception for nimble docket-monitoring forum defendants.
                    The question seems to answer itself.           If Congress wishes to
                     preserve those limits on federal jurisdicti it makes little sense to
                                                                on,
                     allow them to be circumvented by snap removal. Indeed, one
                     striking feature of snap removal is that it has almost no policy
                    justification; the doctrine has arisen entirely in reliance on a literal
                     interpretation of federal law.

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                   Without any policy justification, one finds snap removal quite
                   difficult to defend. It takes cases that current law assigns to the state
                   courts and allows them to be removed but only until the time the
                   forum defendant has been served with process. That possibility will
                   create incentives for defendants to engage in wasteful docket
                   monitoring and for plaintiffs to take steps in advance ofthe litigation
                   to counter anticipated snap removal practices. Given the uncertainty
                   in current law as to the legality of the tactic, moreover, snap
                   removal tends to foster jurisdictional litigation that complicates
                   and delays the resolution of the merits of the dispute. Resources
                   devoted to the snap removal game do little to advance the goal of
                   the achieving the "just, speedy, and inexpensive determination" of
                    every action and proceeding.


                   This subcommittee deserves credit for addressing the dysfunctional
                   features offederal jurisdiction, including the current poster child of
                   dysfunction, snap removal.

                                                                                              Before
    Examining the Use of `Snap'Removals to Circumvent the Forum Defendant Rule: Hewing
                                                                                              y, 116tH
    the Subcomm. on Courts, Intellectual P~ope~ty, and the Internet, H. Comm. On the Judiciar
    Cong.(Nov. 14, 2019)(statement of James E. Pfander, Esq.)(emphasis added).


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           In light of the above, and the exhibits attached hereto, and the prior submissions made in
                                                                                                     to
    support of Plaintiff's motion, Plaintiff respectfully submits this Court should remand this case
    the Supreme Court for the State of New York.


                                                            Respectfully Submitted,

                                                                SENOF~,~ MILTENBERG,LLP


                                                            ~'ndrew Mi~enberg, Esq.
                                                            Stuart Bernstein, Esq. ~
                                                            Adrienne Levy, Esq.


     cc: All Counsel(Via ECF)
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